[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                    CORRECTED MEMORANDUM OF DECISION de DEFENDANT'S MOTION FOR CONTEMPT (160)
This motion was served on the plaintiff John P. Archer in hand in Palm Beach County, Florida on September 25, 2001 summoning him to appear on October 9, 2001 before this court to answer the allegations of the defendant Jan B. Archer that the plaintiff had failed to pay:
  1. unallocated alimony and child support due to the defendant of $39,000 as of August 3, 2001; and
  2. a division of assets payment of $27,000 due to the defendant on October 1, 2000, on which he paid $5000 leaving $22,000 unpaid.
CT Page 16901
These obligations were created in the judgment of marriage dissolution entered in this court on August 26, 1997.
The defendant appeared and testified. The plaintiff failed to appear. The court is bound by the allegations found in the motion. The court finds that the plaintiff is indebted to the defendant, as of August 3, 2001, in the total amount of $61,000. He is found in contempt of court having failed to offer any defense to rebut the allegations. The purge is fixed as full payment.
Judgment of $61,000 is entered accordingly.
The court orders a capias be issued with bond fixed at $20,000, to compel his appearance in this court, should he be found within this state.
HARRIGAN, J.T.R.